
SLOSS, J.
The plaintiff, as holder of sixty-five Montgomery Avenue bonds and 2,975 coupons, sues to recover the amount of said bonds and coupons from the state of California. Judgment was entered in favor of the defendant upon the sustaining of its demurrer to the complaint.
The complaint is in all substantial particulars identical with that in Union Trust Company of San Francisco against the State of California, Sacramento No. 1570, ante p. 716, [99 Pac. 183], decided this day, and for the reasons stated -in the •opinion in that ease it must be held that the complaint fails to state a cause of action.
The judgment is affirmed.
Angellotti, J., Shaw, J., Lorigan, J., Henshaw, J., and Melvin, J., concurred.
